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                      EXHIBIT A
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                                                                     July   25     2001




                                         PRIVILEGED AND CONFIDENTIAL
                                        FOR SETTLEMENT PURPOSES ONLY


VIA FACSIMILE                  AND FEDERAL EXPRESS

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20t1 Floor

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San Francisco            CA     94111-3580



           Re            In re Matchlogic        Internet     Privacy       Litigation



Dear    Jim



           This letter follows          up on our conversation              concerning            the possibility           of        prompt
resolution      of     this   litigation     This letter and       its   contents    are provided           in   the    context         of

settlement discussion             and are therefore privileged              and not to be used for any purpose other than
discussion      of settlement



           Three points came            out   of our conversation            and      will    address them             in   turn



           First in order to more             appropriately        structure         settlement         plaintiffs          need        fuller


understanding           of how Matchlogic            operates        Particularly         after    reviewing        the materials you

provided       we      remain unclear        as to       what      data       is   associated        with        user identification in the

Matchlogic        database             how    Matchlogic        obtains     the demographic             information              it   uses    to target

advertisements           e.g      gender income         range presence             of children              whether Matchlogic                       has

ever attempted           to correlate registration data with                user information           collected for ad-serving                      or

email purposes                  whether Matchlogic           has   ever attempted            to mine     its     data files to obtain

personally identifiable            information       about   Internet       users or correlate user identities                         with    personally

identifiable      information          and      the extent      of data captured             in
                                                                                                  Matchlogic            log      files   specifically

Matchlogics            capture    of   URL    referrer strings               technical person           familiarwith                  Matchlogics

practices could          probably      answer these questions             and any follow-on             questions           we may            have   in




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short order              This      is   why we propose                   sitting      down          with       you and our expert to have                              question

and answer             session



                Second assuming what you                               intimated           and what           we     have seen        in     the materials provided                    is


borne out         as   to these points                   we     think       settlement can                   be crafted along the                    lines    of the

AmazonlAlexa                settlement                  As you know                 that     settlement had two                 basic         components                        fund

set    aside there           $1.9 million                  against which             individuals              could    submit        claims          which Matchlogic

could       compare        against           its   files   to determine              if
                                                                                           any personally              identifiable           information             had been

captured         about      those individuals                   and       guaranteed               cypres           component          as     well as             roll-over     of

unclaimed funds to the cypres                                  component            and              various         forms of programmatic                          relief




              With      respect         to    programmatic               relief       we      need to include                items that          would promote the

core     fair    information             practice principles                of notice              choice           access     and security                   Set forth below               is


  list      of the types        of items           that      would achieve                the kind           of goals    we     are     seeking               We      present    this

list   as       starting     point       for       discussions          since       some          of the items might be moot or impracticable                                        The

more        comprehensive the programmatic                                 relief          however            the sounder the footing                        for    the retention

of jurisdiction            discussed           below             We     suggest           the following




                           Improving               Matchlogics              Privacy          Policy               Matchlogics           privacy          policy       could

                           probably            be improved                 We       note          for    instance       that    it   fails     to disclose the

                           possibility             of    URL     captures           and seems to suggest                     that     no such          thing occurs              Also
                           the opt-out              process        is   somewhat              buried          and could        be more           prominent



                           Improving               Internal       Matchlogic               Security Policies                   For example                   if   Matchlogic      has

                           been creating                   and   retaining          for     some         period       of time log            files    for     its   servers     this    is



                              predominant                  area of concern                 to plaintiffs              Accordingly              we      would wish to see

                           the implementation                     of       strict     security           policy       to ensure                that      access       to the log

                           files    is   strictly controlled                in   terms            of Matchlogic           employees and any third-party

                           vendors                    that       specific        log       file    security         policy be created                 disseminated             and

                           enforced                and          that    old log       files       be     periodically        purged on                 rolling

                           going-forward                   basis



                           Cookie longevity                            Matchlogic            cookies           should     be   set    to expire for                   period

                           substantially                less   than they         are currently                set



                           Tracking/Data                   Collection



                                             Where Matchlogic                   collects           and       uses    personally identifiable                      information

                                             PIT data                  Internet      users will be presented                     with            clear       and conspicuous

                                             notice        and agree        to such           use       in   an     agreed-upon form and presentation                             that




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                               we     can     discuss         Also



                                             Information           collected under one policy will not be used in any

                                             manner        inconsistent              with      that    policy          without          affirmative              choice

                                             through        an    opt-in procedure



                                             For any user who                   opts-out         of any          collection            of data Matchlogic

                                             shall   reset       such       users Matchlogic                          ad     serving         cookie         in    order to

                                             prevent       any merger of the users PIT data with any non-PIT                                                         data

                                             thereafter



                               An     explicit       agreement           that    Matchlogic              not          track and/or             profile         clickstream

                               information           concerning            sexual matters health                           or medical               matters        and

                               personal        financial         information              from any          Web         site     or    Web          page


                               An     agreement           that    Matchlogic              will    not    conduct tracking or                           profiling         of

                               Internet       users       interest       information              on any          client        Web          site    which does not

                               post    its    own     Internet       privacy          policy          and   explicitly            disclose in this policy

                               that    users       interest       and other information                          is   being       gathered            from the        site    by

                               Matchlogic            or       marketing              partner of the               Web           site through              the use        of

                               cookies        in   conjunction           with        banner       ads       and/or           clear     GIFs          if   clear    GIFs are

                               being        used     the type      of information                 that      is    being gathered                    and the uses            to

                               which such            information           will      be    put


                       successor-in-interest               lock-up         entered             by the Court                in
                                                                                                                                any    final        judgment


                    Audit     Requirement               The      engagement                of an independent                      auditor           over       the next

                    three years to ensure              that      Matchlogic               is   complying with the terms                              of    its    privacy

                    policies    and the terms             of any settlement agreement in this case



                    Public     Information           CampaignlRestitution                             Matchlogic                will    commit            to     creating

                    fund    to pay for          media campaign                   designed             to educate             consumers               about        privacy        on
                    the Internet




                    Matchlogic         will    commit to          establishing                  mechanism               to      educate         and inform            its


                    clients    about     Internet       privacy



            As we   discussed       Matchlogic          would pay               as    part      of the settlement                      for    the costs of notice

and administration            As   to notice         we   think          combination                  of Internet notice                 and publication

makes the most sense               And      there would           also    be the payment                    of reasonable                attorneys fees               and




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costs in an          amount        to be       negotiated



               The    final    component               of the settlement             and the     third     point     we    discussed            is   that     we   would

envision        having        the Court continue                   to exercise       jurisdiction         so as to provide             forward looking

protection           to the    company                 See             Liddell          State of      Mo       731 F.2d           1294 1326 8th Cir
1984       We         specifically         approve the settlement agreement insofar                                  as   it   relieves        the participating

county school               districts     of   liability      if   they meet the goals              set    forth in the settlement plan within                         five


years          Vulcan         Soc. Etc                 Fire Dept.           etc 505 F.Supp                955 959 S.D.N.Y                      1981         the
proposed judgment                   contained           general       provisions        vesting      the Court with              continuing            jurisdiction

deeming         compliance with the judgments to constitute                                      compliance with applicable                       federal       equal

employment             laws             That     way         should         class    member         seek    to challenge             Matchlogics              conduct he

or she     either             would have no claim by                        virtue    of the terms         of the settlement              if   they were             class

member          or           even    if   he    or she were           not       class   member        at    the time of the             settlement and hence

not     specifically         bound      by the releasing terms                   of the settlement             his   or her claim could                     be enjoined

and/or     routable to the Court                         which would provide                     most      substantial          disincentive           to    anyone

seeking        to bring          such          claim          See             Matter of VIVIS             Securities      Litigation             103    F.3d 1317

1324 7th Cir 1996                      in the          context       of complex class            action      litigation              federal     district      court

may      appropriately           use      the All Writs            Act to remove           and enjoin the prosecution                      of subsequent              state

court claims           in   order to       enforce          its    ongoing      orders    against         relitigation         and to guard the               integrity      of

its    prior    rulings      over    which        it   had expressly retained jurisdiction



               The    above      principles            form the framework                of      possible settlement                    Again we             offer   this

level    of detail        and suggestion               in   the    spirit   of being      able   to devise terms               for    expedited         consideration

that    we     could      move      quickly        on


               We    look     forward to your prompt response



                                                                                 Sincerely yours




                                                                                 Seth         Lesser

                                                                                 Bernstein        Litowitz       Berger               Grossmann              LLP




                                                                                 Dennis Stewart

                                                                                 Milberg Weiss Bershad Hynes                                   Lerach        LLP




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                              Miller Faucher   Caflerty




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